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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW Y()RK

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Plaimiff, 18 CW` __ (_)
- against - JURY DEMANDED
CAMBRIDGE ANALYTICA, LLC, SCL
GROUP LIMITED, and SCL GROUP, INC.,
Defendants,.
__________________________________ X

COMPLAINT FOR WILLFUL COPYRIGHT INFRINGEMENT

Tln`s copyright infringement case involves the unauthorized use by defendants and/or an
entity engaged by and working for them, Global Science Research (“GSR”), of an iconic photo-
graph (“the Photo”) created and owned by plaintiff Todd Bigelow (“Bigelow”).

THE PARTIES

l. Bigelow is a resident of California and a professional photographer and journalist for
almost three decades His Work has appeared in such publications as Tll\/IE, Sports Illustrated,
Public Radio Intemational, National Geographic Traveler, Srnithsonian, Newsweek, ESPN.com,
Der Spiegel (Europe's leading news Weekly), People, AARP and the Chronicle oingher Edu~
cation. He contributed to two Breaking News Pulitzer Prizes awarded to the Los Angeles Times
for coverage of the 1992 Los Angeles Riots and the 1994 Northridge Earthquake. He has Worked
With some of the nation's leading non-profit organizations including the Southern Poverty Law
Center, The J ames lrvine Foundation, Teaching Tolerance and the Food & Environment Report-
ing Network. I-Iis Work has appeared in galleries around the World, including the California
Museum of Photography, Oakland Museun'l of California, and the NeWseurn in Washington, DC.

2. In 1994 Bigelow created the Photo, a copy of Which is annexed hereto as Exhibit “A.”

Bigelow’s copyright in the Photo Was registered With the United States Copyright Office under

 

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Registration No. VA l-964-979. Because of its iconic status and reputation, the Photo has
become closely associated With Bigelow.

3. Upon information and belief, defendant Cambridge Analytica LLC (together With co-
defendants SCL Group Lirnited and SCL Group, lnc., Which are its parents and/or afliliates,
jointly “CA”) is in the business of creating and utilizing data. As its Website proclaims,
“Cambridge Analytica uses data to change audience behavior.” lt is currently the subject of
substantial international controversy and litigation arising out of its alleged unauthorized
collection and use for nefarious purposes of data that Was mined from millions of users of
Facebook. CA maintains headquarters in the City of New Yorl< among other locations

JURISDICTION AND VENUE

4. This Court has jurisdiction over this case pursuant to 28 U.S.C. §1338 because this is
an action for copyright infringement under the United States Copyright Act. Venue in this district
is proper pursuant to 28 U.S.C. §§l39l(b) and 1400.

UNDERLYING FACTS

5. Arnong other subj ects, Bigelow has created acclaimed photographs of persons seeking
to gain entry into the United States by climbing a (previously constructed) Wall on the border be-
tween the United States and Mexico, The Photo is one of those photographs

6. On information and belief, in the course of collecting data from those millions of Face~
book users, CA and/or its agent GSR made prominent use of the Photo as part of an online per-
sonality test.

7. At no time Was Bigelow asked for permission for the alleged extensive use of the Photo
by CA/GSR and at no time did he grant any such permission In fact, in light of the nefarious uses
to Which CA allegedly put the data collected in part by utilizing the Photo, Bigelow never Would

have granted any such permission

 

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CAUSE OF ACTION FOR WILLFUL COPYRIGHT INFRINGEMENT

8. Bigelow incorporates here the contents of Paragraphs l through 7 above.

9. The unauthorized copying, dissemination, display, and other exploitation of the Photo
by CA constitutes willful infringements of the registered copyright in the Photo, Which infringe-
ments profited CA and damaged Bigelow.

WHEREFORE, Bigelow demands judgment a) awarding to him CA’s profits attributable
to the infringements, his damages, and/or statutory damages, pursuant to 17 U,S.C. §504; b)
awarding to him his costs and attomeys' fees, pursuant to 17 U.S.C. §505; c) awarding to him
punitive damages; and d) awarding such other relief as the Court deems just.

Dated: April 20, 2018

 

NORWICK & SCHAD

By: 0 40
Kenneth P. Norwick ‘

110 East 59th Street

New York, New York 10022
(212) 751-4440
ken@norwickschad.corn
Attorneys for Plaintiff

 

